              Case 3:23-cr-00256-DDL Document 25 Filed 02/17/23 PageID.61 Page 1 of 2
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA
               UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                                 V.                                  (For Offenses Committed On or After November 1, 1987)

                      Andres Mora-Epifanio                                       Case Number: 3:23-cr-00256-DDL

                                                                     Soojin Cha, Federal Defenders of San Diego
                                                                      Defendant’s Attorney
USM Number                       07233506
    _
☐
THE DEFENDANT:
☒ pleaded guilty to count(s)          One of the Information

☐ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                       Count
Title & Section                    Nature of Offense                                                                  Number(s)


8 U.S.C. § 1325(a)(1)              Attempted Improper Entry by an Alien                                                     1




    The defendant is sentenced as provided in pages 2 through                   2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☒ Count(s)         Two                                          is          dismissed on the motion of the United States.

        Assessment : $10.00
☒       Pursuant to the motion of the United States under 18 USC 3573, the special assessment provided for under 18 USC 3013 is
        waived and remitted as uncollectible.
☐ JVTA Assessment*: $
        *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
☒ No fine                      ☐ Forfeiture pursuant to order filed                                              , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                      February 16, 2023
                                                                      Date of Imposition of Sentence



                                                                      HON. David D. Leshner
                                                                      UNITED STATES DISTRICT JUDGE
              Case 3:23-cr-00256-DDL Document 25 Filed 02/17/23 PageID.62 Page 2 of 2
   AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

   DEFENDANT:              Andres Mora-Epifanio                                     Judgment - Page 2 of 2
   CASE NUMBER:            3:23-cr-00256-DDL

                                                      PROBATION
The defendant is hereby sentenced to probation for a term
of: One Year (Unsupervised)

                                           MANDATORY CONDITIONS
1. The defendant must not commit another federal, state or local crime.
2. The defendant must not unlawfully enter or attempt to enter the United States.




                                                                                    3:23-cr-00256-DDL
